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 8                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
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10   BRYANT JOHNSON,                          )   Case No.: 2:19-cv-07063-PJW
                                              )
11                Plaintiff,                  )   ORDER AWARDING EQUAL
                                              )   ACCESS TO JUSTICE ACT
12         vs.                                )   ATTORNEY FEES AND EXPENSES
                                              )   PURSUANT TO 28 U.S.C. § 2412(d)
13   ANDREW SAUL,                             )   AND COSTS PURSUANT TO 28
     Commissioner of Social Security,         )   U.S.C. § 1920
14                                            )
                  Defendant                   )
15                                            )
                                              )
16
17         Based upon the parties’ Stipulation for the Award and Payment of Equal
18   Access to Justice Act Fees, Costs, and Expenses:
19         IT IS ORDERED that fees and expenses in the amount of $3,900.00 as
20   authorized by 28 U.S.C. § 2412, and no costs authorized by 28 U.S.C. § 1920, be
21   awarded subject to the terms of the Stipulation.
22   DATE: October 20, 2020
                                ___________________________________
23                              HONORABLE PAUL L. ABRAMS
                                CHIEF UNITED STATES MAGISTRATE JUDGE
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 1   Respectfully submitted,
 2   LAW OFFICES OF LAWRENCE D. ROHLFING
 3         /s/ Steven G. Rosales
     _________________________
 4   Steven G. Rosales
     Attorney for plaintiff Bryant Johnson
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